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         DATE:           8/12/2022                                   CASE NUMBER 4:21-CR-00313-l
     LOCATION:           Sherman
        JUDGE:           Christine Nowak                             USA v. Robert Tyrone Adams Jr.
   DEP. CLERK:           K. Lee
    RPTR/ECRO:           Digital Recordin                                 Vcs\
        USPO:                                                        AUSA
 INTERPRETER.           M
    BEGIN/END:           1 . O$ft.
   TOTAL TIME:                                                       Defense Attorney


 JNITIAL APPEARANCE
 ARRAIGNMENT

     Defendant Sworn                 Interpreter Required

     Dft appears: with counsel ra without counsel pro se Counsel appears on behalf of defendant

     Date of arrest 8/12/22                        (Other district court & case #)

     Defendant H advised of charges, penalties, and rights

     Dft first appe rance with counsel CJA appointed Retained Brederal Public Defender appointed
     Attorney:

     Defendant advises the Cou t that they                  have counsel who is or,          ill hire counsel.

     Defendant requests app inted counsel, is sworn and examined re: financial status.


     Financial affidavit executed by defendant. ,
     The court finds the defendant is able to e ploy counsel Hi able to employ counsel.

                                  appointed Q<LS. Pub Defender appointed

     If defendant cannot retain counsel, the Court is to be advised within days so counsel may be appointed.


     Govt motion fo detention Govt oral motion for continuance        Oral Order granting Or l Order denying


     Defendant oral moti n to c ntinue detention hearing              Oral Order granting Or l Order denying


     Arraignment set


     Detention Hrg set                                                 Temp Detention Order Pending Hearing

     Ordering setting conditions of release Bond executed

     Defendant signed Waiver of Detention Hearing.


     Defendant remanded to custody of United States Marshal
                                                                                            AUG 1 2.2022
                                                                                         Clerk, U.S. District Court
     Defendant motion                                                                         Texas Eastern
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     Government motion




                                              ARRAIGNMENT

     Arraignment held

     Dt appears with counsel

     Dft           worn
                  received copy of charges            discussed charges with counsel                charges read
                  waived reading of charges


     Dft enters a plea of m not guilty
     To

     Pretrial Discovery and Inspecti n Order entered. Case set for final pretrial conferences/jury selection and
     trial setting on: SDJ 10/3/2022 Pretrial Date:

      Rule                                    5f                or                  er




     Df remanded to custody USM           Dft RELEASED on conditions of release after out-processing by USM

     Recess
